1:17-cv-01324-JES # 13   Page 1 of 20
                                                               E-FILED
                              Wednesday, 17 January, 2018 11:00:25 AM
                                          Clerk, U.S. District Court, ILCD
1:17-cv-01324-JES # 13   Page 2 of 20
1:17-cv-01324-JES # 13   Page 3 of 20
1:17-cv-01324-JES # 13   Page 4 of 20
1:17-cv-01324-JES # 13   Page 5 of 20
1:17-cv-01324-JES # 13   Page 6 of 20
1:17-cv-01324-JES # 13   Page 7 of 20
1:17-cv-01324-JES # 13   Page 8 of 20
1:17-cv-01324-JES # 13   Page 9 of 20
1:17-cv-01324-JES # 13   Page 10 of 20
1:17-cv-01324-JES # 13   Page 11 of 20
1:17-cv-01324-JES # 13   Page 12 of 20
1:17-cv-01324-JES # 13   Page 13 of 20
1:17-cv-01324-JES # 13   Page 14 of 20
1:17-cv-01324-JES # 13   Page 15 of 20
1:17-cv-01324-JES # 13   Page 16 of 20
1:17-cv-01324-JES # 13   Page 17 of 20
1:17-cv-01324-JES # 13   Page 18 of 20
1:17-cv-01324-JES # 13   Page 19 of 20
1:17-cv-01324-JES # 13   Page 20 of 20
